   Case 23-20121-NGH                 Doc 4 Filed 05/07/23 Entered 05/07/23 22:21:17                                Desc Imaged
                                         Certificate of Notice Page 1 of 2
                                    UNITED STATES BANKRUPTCY COURT

                                               DISTRICT OF IDAHO


In Re:                                                       )
                                                             )
Recreational Living, LLC                                     )   Case Number:       23−20121−NGH
9030 Hess                                                    )
Hayden, ID 83835                                             )   Chapter Number: 11
                                                             )
Social Security No.:                                         )
Employer's Tax I.D. No.: 45−4254105                          )
                                                             )
Debtor                                                       )
                                                             )
____________________________________________

                                               DEFICIENCY NOTICE

To the Debtor(s) and his attorney, if any:

In order for this case to be administered, it is necessary that the item(s) described below be filed immediately or the
case may be DISMISSED after the due dates listed below.



Attorney Disclosure Statement due 5/19/2023;
Income and Expense Statement due 5/19/2023;
List of Equity Security Holders due 5/19/2023;
20 Largest Unsecured Creditors due 5/19/2023; Corporate Ownership Statement due 5/19/2023; Corporate Resolution
Statement due 5/19/2023; Schedule A/B due 5/19/2023;
Schedule D due 5/19/2023;
Schedule E/F due 5/19/2023;
Schedule G due 5/19/2023;
Schedule H due 5/19/2023;
Summary of Assets and Liabilities due 5/19/2023.




                                                                 Stephen W Kenyon
Dated: 5/5/23                                                    Clerk, U.S. Bankruptcy Court
       Case 23-20121-NGH                      Doc 4 Filed 05/07/23 Entered 05/07/23 22:21:17                                            Desc Imaged
                                                  Certificate of Notice Page 2 of 2
                                                              United States Bankruptcy Court
                                                                     District of Idaho
In re:                                                                                                                 Case No. 23-20121-NGH
Recreational Living, LLC                                                                                               Chapter 11
       Debtor
                                                     CERTIFICATE OF NOTICE
District/off: 0976-2                                                  User: admin                                                                 Page 1 of 1
Date Rcvd: May 05, 2023                                               Form ID: defntc2                                                           Total Noticed: 1
The following symbols are used throughout this certificate:
Symbol          Definition
+                Addresses marked '+' were corrected by inserting the ZIP, adding the last four digits to complete the zip +4, or replacing an incorrect ZIP. USPS
                 regulations require that automation-compatible mail display the correct ZIP.


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on May 07, 2023:
Recip ID                 Recipient Name and Address
db                     + Recreational Living, LLC, 9030 Hess, Hayden, ID 83835-9827

TOTAL: 1

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
Electronic transmission includes sending notices via email (Email/text and Email/PDF), and electronic data interchange (EDI).
NONE


                                                       BYPASSED RECIPIENTS
The following addresses were not sent this bankruptcy notice due to an undeliverable address, *duplicate of an address listed above, *P duplicate of a
preferred address, or ## out of date forwarding orders with USPS.
NONE


                                                      NOTICE CERTIFICATION
I, Gustava Winters, declare under the penalty of perjury that I have sent the attached document to the above listed entities
in the manner shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and
belief.

Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed .R. Bank. P.2002(a)(1), a notice containing the
complete Social Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains
the redacted SSN as required by the bankruptcy rules and the Judiciary's privacy policies.

Date: May 07, 2023                                            Signature:           /s/Gustava Winters




                                  CM/ECF NOTICE OF ELECTRONIC FILING
The following persons/entities were sent notice through the court's CM/ECF electronic mail (Email) system on May 5, 2023 at the address(es) listed below:
Name                               Email Address
Kevin P Holt
                                   on behalf of Debtor Recreational Living LLC kholt@holtlawoffice.com,
                                   nichole@holtlawoffice.com;G18693@notify.cincompass.com

US Trustee
                                   ustp.region18.bs.ecf@usdoj.gov


TOTAL: 2
